While we recognize the force of plaintiff in error's contention to the contrary, we cannot bring ourselves *Page 739 
to believe that there was any reversible error in overruling the motion to quash the indictment because of the omission of the words "of another," when the provisions of Sections 6063-6064, Rev. Gen. Stats., are applied. Surely the indictment was not "so vague, indistinct and indefinite as to mislead the accused and embarrass him in the preparation of his defense, or expose him after conviction or acquittal to substantial danger of a new prosecution for the same offense." The language of the indictment "with intent to commit a felony, to wit: to steal, take and carry away goods and chattels of the value of more than $50.00, contrary to the form of the statute in such case made and provided," follows the language of Section 5122, Rev. Gen. Stats., as amended by Chap. 8563 of the Laws of 1921, so closely as to indicate that the breaking and entering was with the intent to commit grand larceny so as to come within the operation of Sections 6063-6064 above referred to. The word "steal" may not be technically synonymous in meaning with the words "to commit larceny," but it is nevertheless a very strong and significant word, and the commonly accepted meaning of that word is very well defined in the Standard Dictionary as follows: "To steal is to commit larceny." The eighth commandment of the decalogue merely reads: "Thou shalt not steal;" yet was it ever doubted that it prohibited larceny of all kinds? See Gafford v. State, 79 Fla., 581, 84 So.2d 602, and Fountain v. State 109 So.2d 463, 92 Fla., 262. It is only under very exceptional circumstances that a person could be held guilty of larceny for taking his own property, such as where the owner takes his own goods from one who has a special property right in them and a legal right to withhold them from him. 36 C. J. 756, 781; Percifield v. State 111 So.2d 519; Fountain v. State, 109 So. 453. But as a general rule, one could hardly steal his own goods, though he might be guilty *Page 740 
of a trespass in taking them under certain circumstances. Ordinarily, if he steals at all, it must be the goods of another. Therefore the omission of the words "of another," while constituting a defect in the indictment, was not absolutely essential to a definition clearly indicating, for all practical purposes, all the elements of the offense of grand larceny, and could hardly have misled the accused or embarrassed him in the preparation of his defense.
But there is to our minds a technical variance in the proof not as to the indictment as actually drawn, but as to the technical effect thereof, growing out of a defect in the indictment which is more serious than the one above discussed. The general rule is that, in cases of this kind, the ownership of the building should be laid, not in the holder of the legal title where he is not in possession, but in the actual occupant — the party in the possession and control of the building, unless he is a mere servant. 9 C. J., 1044; Pells v. State, 20 Fla., 774; Leslie v. State, 35 Fla., 171, 17 So.2d 555; Crosky v. State, 46 Fla. 122, 35 So.2d 153; Davis v. State 51 Fla., 37, 44 So.2d 757; Potter v. State, 109 So.2d 91; Burns v. State, 104 So.2d 783; Collingsworth v. State, 113 So.2d 561; 4th Stand. Encyc. Prac., 601. And as stated in Sec. 137, Vol. 3, Bishops Crim. Prac., "The ownership of the building must be alleged, and without variance proved as laid. But the meaning of ownership
varies with the offense. Burglary is not a disturbance to the fee of the place as realty, but to the habitable security. Therefore, in burglary, ownership means any possession which is rightful as against the burglar." Immediately following this, the author continues: "Section 138. Under various circumstances the ownership may be laid equally well in one person or another; as, in the master, or in the servant occupying under him. This is an important consideration, without which many of the cases will appear conflicting. In *Page 741 
general, possession and occupancy by the alleged owner are all that are required. While he need not own the fee, he need not even pay rent. 'It is enough that it was his actual dwelling-house at the time.' Even a possession unlawful as against the person claiming title, but lawful as against the burglar, will suffice. To illustrate, — 2. Master and Servant. — Where one as mere servant occupies a dwelling-house, the ownership is well laid in the master. Or, if the servant is in independent control, it may be laid in him, otherwise not. And it must be, if he pays rent to the master, who retains no authority over the premises." And in 9 C. J., 1044-5, it is said: "If premises are in the possession and occupancy of a tenant at the time of a burglary, the ownership may be laid in the tenant, and at common law it must be so laid or there will be a fatal variance." But we have held that the indictment is not sufficient if it omits the allegation of ownership, and merely alleges that the building referred to therein was "occupied" by a named person. Potter v. State, supra.
Here, the indictment alleges the breaking and entering "of a certain store building, then and there situated, to wit: a store building, the property of Punta Gorda Investment Company, a corporation organized and existing under the laws of the State of Florida, and then and there being used as a store building by R. K. Seward, doing business as the Punta Gorda Dry Goods Company," etc. Thus, by the indictment, the ownership was laid in the Punta Gorda Investment Co. It should have been laid in R. K. Seward. The evidence tends to show that the building was owned by the Investment Company, but was occupied and used as a store by R. K. Seward, doing business as the Punta Gorda Dry Goods Co. Thus, Seward was the party in possession and ownership should have been laid in him. Hence there was a variance in the proof, technically considered. *Page 742 
The reasons for requiring the ownership of the building to be alleged in the indictment are, as stated in Davis v. State,supras "(1) For the purpose of showing in the record that the building alleged to have been broken into was not the property of the accused, inasmuch as one cannot commit the offense of breaking and entering his own building; (2) For the purpose of so identifying the offense as to protect the accused from a second prosecution for the same offense." In this latter connection, see also Potter v. State, supra, which shows the importance of accurate averments in matters of this kind, in order to protect the accused from a second prosecution for the same offense. However, in this case, technically defective as the indictment is, as above pointed out, yet the building is described with sufficient certainty to meet both of the purposes outlined in the Davis case. It certainly shows that the building was not the property of the accused, and it so identifies the offense and the building broken and entered as to protect the accused from a second prosecution for the same offense. Nor could the indictment in this respect have possibly misled the accused or embarrassed him in the preparation of his defense, for it alleged both the real owner and the party in actual possession.
It follows that there was no reversible error committed in overruling the motion to quash the indictment. The other assignments of error are also deemed untenable.
Judgment affirmed.
WHITFIELD, TERRELL AND STRUM, J. J., concur.
ELLIS, C. J., AND BUFORD, J., dissent.